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FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (10/05)                                            Case Number 06−31209−bjh7

                                     UNITED STATES BANKRUPTCY COURT
                                       DISTRICT of Northern District of Texas
        Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
       A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 3/24/06.

 You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
 All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
 bankruptcy clerk's office cannot give legal advice.
                                     See Reverse Side For Important Explanations
 Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
 Raymond R. Cosme
 2025 Hillcroft
 Rockwall, TX 75087
 Case Number:                                                            Social Security/Taxpayer ID/Employer ID/Other Nos.:
 06−31209−bjh7                                                           xxx−xx−7634
 Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
 Howard Marc Spector                                                     Daniel J. Sherman
 Howard Marc Spector, P.C.                                               509 N. Montclair
 12770 Coit Road, Suite 1100                                             Dallas, TX 75208
 Dallas, TX 75251                                                        Telephone number: 214−942−5502
 Telephone number: 214−365−5377

                                                        Meeting of Creditors
 Date: April 19, 2006                                             Time: 10:00 AM
 Location: Office of the U.S. Trustee, 1100 Commerce St., Rm 524, Dallas, TX 75242

                                   Presumption of Abuse under 11 U.S.C. § 707(b)
                                                 See "Presumption of Abuse" on reverse side.
 The presumption of abuse does not arise.

                                                                Deadlines:
                          Papers must be received by the bankruptcy clerk's office by the following deadlines:
    Deadline to File a Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts: 6/19/06

                                              Deadline to Object to Exemptions:
                              Thirty (30) days after the conclusion of the first scheduled meeting of creditors.
   The 30−day deadline under Fed. R. Bankr. P. 4003(b) for objecting to exemptions does not recommence when a case under Chapter 13 is
                                                    converted to a case under Chapter 7.

                                        Creditors May Not Take Certain Actions:
 In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
 debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
 court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
 penalized. Consult a lawyer to determine your rights in this case.

              Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                                          Foreign Creditors
 A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
 on the reverse side.
 Address of the Bankruptcy Clerk's Office:                                                        For the Court:
 1100 Commerce Street                                                    Clerk of the Bankruptcy Court:
 Room 1254                                                               Tawana C. Marshall
 Dallas, TX 75242
 Telephone number: 214−753−2000
 Hours Open: Monday − Friday 8:30 AM − 4:30 PM                           Date: 3/27/06
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                                                          EXPLANATIONS                                                        FORM B9A (10/05)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office by the "Deadline to File a
                         Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts" listed on the
                         front side. The bankruptcy clerk's office must receive the complaint and any required filing fee by that Deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Foreign Creditors        Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
                         case.


                         −− Refer to Other Side for Important Deadlines and Notices −−
